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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW MEXICO

                                                   :
 Janine LaVigne, on behalf of herself and all      :
 others similarly situated,                        :
                                                   :
                        Plaintiff,                 :
                                                   :     Civil Action No.: 1:15-cv-00934-KWR-LF
        -against-                                  :
                                                   :
 First Community Bancshares, Inc.; First           :
 National Bank Texas; DOES 1-10, inclusive,        :
                                                   :
                        Defendants.                :

                       STIPULATION OF VOLUNTARY DISMISSAL

       Under Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiff Janine LaVigne, and Defendants First

Community Bancshares, Inc. and First National Bank Texas stipulate and agree to the voluntary

dismissal of this action with costs to be borne by the party incurring them.

       Under Fed. R. Civ. P. 23(e), this class action may only be voluntarily dismissed with the

Court’s approval including an order on whether the effect of this dismissal is with or without

prejudice. The Parties will submit separate briefing on this issue.

STIPULATED AND AGREED

Dated: June 25, 2021

       For the Plaintiff and the Class                     For Defendants
 By:    /s/ Stephen Taylor                             By: /s/ William Helfand
       Stephen Taylor                                      William S. Helfand
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